 From:
 To:
 Subject:         FW: Please file from Mary Wallace
 Date:            Friday, June 5, 2020 8:54:11 AM
 Attachments:     6 4 2020 DECLARATION OF MKW OF DOC RECEIVED 6 3 2020.docx




 From: CANB Emergency Filings <CANB-EMERGENCY-FILINGS@canb.uscourts.gov>
 Sent: Friday, June 5, 2020 6:55 AM
 To:
 Subject: FW: Please file from Mary Wallace



 From: Xena Gale
 Sent: Friday, June 5, 2020 6:54:04 AM (UTC-08:00) Pacific Time (US & Canada)
 To: CANB Emergency Filings
 Subject: Please file from Mary Wallace

 I prepared this yesterday and emailed to the courts. It came back as a wrong address. Please file
 this Declaration from Mary Wallace.




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